8:12-cr-00282-BCB-MDN             Doc # 353   Filed: 06/17/13   Page 1 of 1 - Page ID # 840

                                                               FILED
                                                       _u.S. DiSTR~CT COUR 1
                     IN THE UNITED STATES DISTRICT Cou~lfTRICT OF NEBRASr~,.
                          FOR THE DISTRICT OF NEBRASKA                13 JUN 17 PM 12: ! n
                                                                     OffiCE OF THE ClERK
UNITED STATES OF AMERICA,                     )         CASE NO. 8:12CR282- 10
                                              )
                     Plaintiff,               )
                                              )
      ~~                                      )                     ORDER
                                              )
Andrea lnzunza Lopez                          )
                                              )
                     Defendant.               )
                                              )

      This matter comes before the Court on the request of the Federal Public Defender

for the Court to authorize Joshua W. Weir, as a Criminal Justice Act Training Panel

Member, to assist in the defense of Andrea lnzunza Lopez.

      Accordingly, pursuant to the terms of Appendix I, Part 1(c) of the Amended Criminal

Justice Act Plan for the District of Nebraska, Joshua W. Weir is hereby assigned to assist

the CJA Panel Attorney Stuart J. Dornan in the representation of the Defendant in the

above-captioned case, and must file an entry of appearance forthwith. Joshua W. Weir

shall not be eligible to receive compensation for his services in this case.

       CJA Stuart J. Dornan shall continue to be primary counsel on behalf of the

Defendant, Andrea lnzunza Lopez.

       Dated:   ~.           11; 2_o(:$_
                                      BY THE COURT:



                                         ~ctJudge
